     Case 2:20-cv-02192-RFB-EJY Document 80 Filed 06/24/22 Page 1 of 1



 1
 2
 3
 4                                       UNITED STATES DISTRICT COURT
 5                                             DISTRICT OF NEVADA
 6                                                       ***
                                                                     Case No. 2::20-cv-02192-RFB-EJY
 7       XIAO YE BAI,
                                                                           AMENDED ORDER TO
 8                          Plaintiff,                                        PRODUCE FOR
 9               v.                                                        VIDEOCONFERENCE
                                                                           XIAO YE BAI, #1099896
10       CALVIN JOHNSON, et al.,L, et al,
11                              Defendants.
12
           TO:             CALVIN JOHNSON, WARDEN, HIGH DESERT STATE PRISON, INDIAN
13                         SPRINGS, NV
14               THE COURT HEREBY FINDS that XIAO YE BAI, #1099896, is presently in custody of
15   the Nevada Department of Corrections, located at High Desert State Prison, Indian Springs, Nevada.
16              IT IS HEREBY ORDERED that the Warden of High Desert State Prison,
17   or        his    designee,      shall     arrange    for        and        produce        XIAO    YE    BAI ,
18   #     1         0 9     9 8 9 6         o n   or    about,     July   7,     2022,        at     the   hour of
19   1:00 p.m., for a videoconference hearing by zoomgov technology                       in    the instant matter,
20   and arrange for his appearance on said date as ordered and and directed by the Court entitled
21   above, until XIAO YE BAI, #1099896 is released and discharged by the said Court;                           and
22   that XIAO YE BAI, #1099896 , shall thereafter be returned to the custody of the Warden,
23   High Desert State Prison, Indian Springs, Nevada, under safe and secure conduct.
24
25             DATED this 24th day of June, 2022.
26
27                                                                __________________________________
                                                                  RICHARD F. BOULWARE, II
28                                                                UNITED STATES DISTRICT JUDGE
